        Case 3:18-cv-00772-SDD-EWD              Document 203         05/12/20 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

STEPHEN M. GRUVER                                      CIVIL ACTION NO. 18-CV-772
and RAE ANN GRUVER,                                    SDD-EWD
Individually and on behalf of
MAXWELL R. GRUVER, deceased                            JUDGE SHELLY D. DICK

v.                                                     MAGISTRATE JUDGE ERIN
                                                       WILDER-DOOMES
STATE OF LOUISIANA THROUGH
THE BOARD OF SUPERVISORS OF
LOUISIANA STATE UNIVERSITY AND
AGRICULTURAL AND MECHANICAL
COLLEGE, ET AL

                        JOINT NOTICE OF PARTIAL SETTLEMENT

       Now into Court, through their undersigned counsel, come Plaintiffs, Stephen M. Gruver

and Rae Ann Gruver, individually and on behalf of Maxwell R. Gruver, deceased, and Defendant,

Ryan Isto, who, pursuant to LR16(c), hereby represent to the Court that the referenced parties and

Mr. Isto’s primary insurance carrier have reached an agreement, in accordance with Gasquet v.

Commercial Union Insurance Company, 391 So. 2d 466 (La. App. 4th 1980), writ denied, 396 So.

2d 921 (La. 1981), whereby Plaintiffs have agreed, in exchange for monetary consideration paid

to Plaintiffs, to release Mr. Isto’s primary insurance carrier and Mr. Isto from all claims which

might be recovered from Mr. Isto directly, while specifically reserving all claims against Mr. Isto

to the extent any other collectible insurance coverage is afforded to Mr. Isto by any insurance

carrier or company other than Mr. Isto’s primary insurance carrier.

       The partial settlement applies only to Plaintiffs’ claims which may be recovered against

Mr. Isto’s primary insurance carrier or Mr. Isto directly. Plaintiffs specifically reserve their claims

against Mr. Isto to the extent collectible coverage is afforded to Mr. Isto by any insurance carrier

or company other than Mr. Isto’s primary insurance carrier, and such claims shall remain active



                                                  1
       Case 3:18-cv-00772-SDD-EWD             Document 203        05/12/20 Page 2 of 3




and pending notwithstanding the partial settlement. Plaintiffs’ claims also remain active and

pending against all other Defendants with whom Plaintiffs have not settled.

Dated: May 12, 2020                                Respectfully submitted,

 /s/ Michael A. Fiser                              /s/ Jonathon N. Fazzola
 THE FISER LAW FIRM, LLC                           THE FIERBERG NATIONAL
 Michael A. Fiser                                  LAW GROUP, PLLC
 1055 Laurel Street                                Douglas E. Fierberg* – Lead Attorney
 Baton Rouge, LA 70802                             Jonathon N. Fazzola*
 Phone: (225)343-5059                              Lisa N. Cloutier*
 Fax: (225)778-7383                                161 East Front Street, Suite 200
 Email: michael@fiserlaw.com                       Traverse City, MI 49684
 Bar Roll No: 28575                                Telephone: (231) 933-0180
                                                   Facsimile: (231) 252-8100
 Attorney for Ryan Isto                            Email: dfierberg@tfnlgroup.com
                                                   Email: jfazzola@tfnlgroup.com
                                                   Email: lcloutier@tfnlgroup.com
                                                   *Admitted Pro Hac Vice

                                                   /s/ J. Lane Ewing, Jr.
                                                   CAZAYOUX EWING LAW FIRM
                                                   Donald J. Cazayoux, Jr. (LBN 20742)
                                                   J. Lane Ewing, Jr. (LBN 29854)
                                                   257 Maximilian Street
                                                   Baton Rouge, LA 70802
                                                   Telephone: (225) 650-7400
                                                   Facsimile: (225) 650-7401
                                                   Email: don@cazayouxewing.com
                                                   Email: lane@cazayouxewing.com

                                                   Attorneys for Plaintiffs Stephen M. Gruver
                                                   and Rae Ann Gruver, individually and on
                                                   behalf of Maxwell R. Gruver, deceased




                                               2
       Case 3:18-cv-00772-SDD-EWD             Document 203       05/12/20 Page 3 of 3




                                CERTIFICATE OF SERVICE

       We hereby certify that on this date a true and correct copy of the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system. Service of this filing will be

made on all ECF-registered counsel by operation of the court’s electronic filing system. Parties

may access this filing through the court’s system.


Dated: May 12, 2020                                  Respectfully submitted,

                                                     /s/ Jonathon N. Fazzola
                                                     THE FIERBERG NATIONAL
                                                     LAW GROUP, PLLC
                                                     Douglas E. Fierberg* – Lead Attorney
                                                     Jonathon N. Fazzola*
                                                     Lisa N. Cloutier*
                                                     161 East Front Street, Suite 200
                                                     Traverse City, MI 49684
                                                     Telephone: (231) 933-0180
                                                     Facsimile: (231) 252-8100
                                                     Email: dfierberg@tfnlgroup.com
                                                     Email: jfazzola@tfnlgroup.com
                                                     Email: lcloutier@tfnlgroup.com
                                                     *Admitted Pro Hac Vice

                                                     /s/ J. Lane Ewing, Jr.
                                                     CAZAYOUX EWING LAW FIRM
                                                     Donald J. Cazayoux, Jr. (LBN 20742)
                                                     J. Lane Ewing, Jr. (LBN 29854)
                                                     257 Maximilian Street
                                                     Baton Rouge, LA 70802
                                                     Telephone: (225) 650-7400
                                                     Facsimile: (225) 650-7401
                                                     Email: don@cazayouxewing.com
                                                     Email: lane@cazayouxewing.com

                                                     Attorneys for Plaintiffs Stephen M. Gruver
                                                     and Rae Ann Gruver, individually and on
                                                     behalf of Maxwell R. Gruver, deceased




                                                3
